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VIA ECF and E-Mail (chambersnysdseibel@nysd.uscourts.gov)

July 6, 2021

Honorable Cathy Seibel
United States District Court
Southern District of New York
The Hon. Charles L. Brieant Jr.
Federal Building and United States Courthouse
300 Quarropas St.
White Plains, NY 10601-4150

          RE:       U.S. ex rel. Integra Med Analytics LLC v. Isaac Laufer et al.;
                    Case No. 7:17-cv-09424 (CS)

Dear Judge Seibel,

        Our firm represents Excel at Woodbury for Rehabilitation and Nursing LLC, East
Rockaway Center LLC d/b/a Lynbrook Restorative Therapy and Nursing, Oasis Rehabilitation
and Nursing LLC, Suffolk Restorative Therapy & Nursing LLC d/b/a Momentum at South Bay for
Rehabilitation and Nursing, and Treetops Rehabilitation & Care Center LLC d/b/a North
Westchester Restorative Therapy and Nursing Center (the “Five Facilities”), five of the defendants
in the above-referenced action.

        We write to request that all Defendants’ time to respond to the complaint-in-intervention
(Doc. No. 13) be extended to and including August 10, 2021. Most but not all of the Defendants
in the action have waived service. The Defendants request an extension to uniformly extend and
consolidate their deadlines to respond to the complaint, consistent with those defendants that
waived service. In addition, several of the Defendants still need time to retain counsel, and
counsel for Defendants need to meet with their clients and assess the proper response to the
claims alleged in the complaint-in-intervention.

       The deadline for response is currently July 6, 2021 for Monclair Care Center, Inc. d/b/a
Emerge Nursing and Rehabilitation; Quantum Rehabilitation and Nursing LLC; and Surge
Rehabilitation and Nursing LLC. The deadline for response is currently August 9, 2021 for the
Five Facilities, as well as defendants Forest Manor Care Center, Inc. d/b/a Glen Cove Center for
Nursing; Long Island Care Center Inc.; Paragon Management SNF LLC; Sutton Park Center for
Nursing & Rehabilitation, LLC; and Issac Laufer. The deadline for response is currently August
10, 2021 for defendant Tami Whitney.

         We request that the Court set a uniform deadline of August 10, 2021 for all defendants to
respond to the complaint-in-intervention. Undersigned counsel has obtained consent for this
request from the government, counsel for defendants that have obtained counsel, and
representatives of defendants still seeking to obtain counsel (the latter two groups and the Five
Facilities are collectively referred to herein as “Defendants”). This is Defendants’ first request for
an extension. Thank you for your consideration.




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                                             Respectfully submitted,




                                             Kristina Allen Reliford

cc:    Jack W. Selden, Esq.
       J. Bradley Robertson, Esq.
       Jonathan H. Ferry, Esq.
       Lyndsay E. Medlin, Esq.
